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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )         CASE NO. CR06-026 RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )         SUMMARY REPORT OF U.S.
11   DANIEL MENGISTEAB YOHANNES,          )         MAGISTRATE JUDGE AS TO
                                          )         ALLEGED VIOLATIONS
12         Defendant.                     )         OF SUPERVISED RELEASE
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled

15 before me on December 12, 2012. The United States was represented by AUSA Nicholas

16 Brown and the defendant by Bruce Erickson. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about December 8, 2006 by the Honorable Robert

18 S. Lasnik on a charge of Conspiracy to Distribute Cocaine Base, and sentenced to 36 months

19 custody, 5 years supervised release.

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant submit to search, participate in drug testing and treatment,

22 participate in mental health treatment including MRT, provide access to financial information


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 upon request and not associate with any known gang members. (Dkt. 264.)

02         On April 21, 2008, the sentence was reduced to 29 months, pursuant to the amended

03 guidelines range for crack cocaine offenses. (Dkt. 365.) All other provisions of the judgment

04 remained in effect.

05         On August 15, 2008, defendant’s probation officer reported that defendant had violated

06 the conditions of supervised release by associating with a known felon. The probation officer

07 recommended that the violation be addressed through the MRT program and no further action

08 was taken at the time. (Dkt. 392.) After an arrest for driving with license suspended on August

09 24, 2008, defendant’s supervision was modified to require participation in home confinement

10 with electronic monitoring for up to 90 days. (Dkt. 396.)

11         On February 5, 2010, after admitting violations of supervised release for failing to

12 participate in MRT as directed, failing to report as directed, committing the crime of driving

13 with license suspended, associating with a convicted felon and associating with persons

14 involved in criminal activity, defendant was sentenced to 30 days imprisonment and 59 months

15 supervised release, including an additional requirement of 120 days participation in location

16 monitoring and participation in MRT. Defendant was also prohibited from possessing any false

17 identification documents. (Dkt. 439.)

18         On March 16, 2011, defendant admitted violating the conditions of supervised release

19 by failing to comply with the location monitoring program, failing to participate in MRT,

20 consuming marijuana, failing to report for urinalysis testing, and failing to report to the

21 probation office as directed. (Dkt. 451.)        Defendant was sentenced to four months

22 imprisonment, 54 months supervised release. (Dkt. 460.)


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02          In an application dated September 14, 2012 (Dkt. 600, 601), U.S. Probation Officer

03 Thomas J. Fitzgerald alleged the following violations of the conditions of supervised release:

04          1.     Committing the crime of conspiracy to distribute a controlled substance on or

05 before August 28, 2012, in King County, Washington, in violation of the general condition that

06 he not commit another federal, state or local crime.

07          2.     Associating with Herman Roche, a convicted Felon, on or before August 18,

08 2012, in violation of special condition number 9.

09          Defendant was advised in full as to those charges and as to his constitutional rights.

10          Defendant admitted the violations and waived any evidentiary hearing as to whether

11 they occurred. (Dkt. 641.)

12          I therefore recommend the Court find defendant violated his supervised release as

13 alleged in violations 1 and 2, and that the Court conduct a hearing limited to the issue of

14 disposition. The next hearing will be set before Judge Lasnik.

15          Pending a final determination by the Court, defendant has been detained.

16          DATED this 12th day of December , 2012.

17
                                                  /S/ MARY ALICE THEILER
18                                                Mary Alice Theiler
                                                  United States Magistrate Judge
19

20
     cc:    District Judge:               Honorable Robert S. Lasnik
21          AUSA:                         Nicholas Brown
            Defendant’s attorney:         Bruce Erickson
22          Probation officer:            Thomas J. Fitzgerald


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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